                                   Case 8:21-cv-01018-DOC-JDE Document 1 Filed 06/08/21 Page 1 of 31 Page ID #:1




                               1 The Cardoza Law Corporation
                                 Michael F. Cardoza, Esq. (SBN: 194065)
                               2 Mike.Cardoza@cardozalawcorp.com
                               3 Lauren B. Veggian, Esq. (SBN: 309929)
                                 Lauren.Veggian@cardozalawcorp.com
                               4 548 Market St. #80594
                               5 San Francisco, CA 94104
                                 Telephone: (415) 488-8041
                               6 Facsimile: (415) 651-9700
                               7
                                 LOKER LAW, APC
                               8 Matthew M. Loker, Esq. (279939)
                               9 matt@loker.law
                                 1303 East Grand Avenue, Suite 101
                              10 Arroyo Grande, CA 93420
                              11 Telephone: (805) 994-0177
THE CARDOZA LAW CORPORATION




                                 Facsimile: (805) 994-0197
                              12 Attorneys for Plaintiff,
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                              13 Tina Barnes
                              14
                              15                     UNITED STATES DISTRICT COURT
                                                               FOR THE
                              16                    CENTRAL DISTRICT OF CALIFORNIA
                              17
                                    TINA BARNES,                          Case No.: 8:21-cv-01018
                              18
                                                Plaintiff,                COMPLAINT FOR DAMAGES
                              19                                          FOR VIOLATIONS OF:
                                                        v.
                              20                                             1.) THE FAIR CREDIT
                                    JPMORGAN CHASE BANK,                     REPORTING ACT, 15 U.S.C. §§
                              21    N.A.,                                    1681, ET SEQ.;
                              22    EXPERIAN INFORMATION
                                    SOLUTIONS, INC.,                         2.) CONSUMER CREDIT
                              23    EQUIFAX INFORMATION                      REPORTING AGENGY ACT,
                              24    SERVICES, LLC,                           CALIFORNIA CIVIL CODE §
                                    TRANS UNION, LLC, AND                    1785 ET SEQ.;
                              25    CBCINNOVIS, INC.,
                              26                                            3.) CALIFORNIA IDENTITY
                              27                                            THEFT ACT, CALIFORNIA
                                               Defendants.                  CIVIL CODE §1798.93, ET SEQ.;
                              28
                                   COMPLAINT
                                   Case 8:21-cv-01018-DOC-JDE Document 1 Filed 06/08/21 Page 2 of 31 Page ID #:2




                               1                                                4.) CALIFORNIA PENAL CODE
                                                                                §530.8; AND
                               2
                               3                                                5.) ROSENTHAL FAIR DEBT
                                                                                COLLECTION PRACTICES
                               4                                                ACT, CALIFORNIA CIVICL
                               5                                                CODE §1788 ET SEQ.

                               6                                          DEMAND FOR JURY TRIAL

                               7
                               8
                               9
                              10
                              11
THE CARDOZA LAW CORPORATION




                              12
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                              13
                              14
                              15
                              16
                              17 [Remainder of page intentionally left blank]
                              18
                              19
                              20
                              21
                              22
                              23
                              24
                              25
                              26
                              27
                              28
                                   COMPLAINT
                                   Case 8:21-cv-01018-DOC-JDE Document 1 Filed 06/08/21 Page 3 of 31 Page ID #:3




                               1                                          INTRODUCTION
                               2 1.     Plaintiff Tina Barnes (hereinafter “Plaintiff”) is a victim of identity theft.
                               3 2.     An unknown and unauthorized individual unlawfully used Plaintiff’s personal
                               4        information, including her social security number (“SSN”) to apply for, open, and
                               5        use a Chase credit card in her name.
                               6 3.     Plaintiff filed a police report with the Los Angeles Police Department and notified
                               7        all Defendants of the identity theft and unauthorized use of her personal
                               8        information.
                               9 4.     As alleged herein, JPMorgan Chase Bank, N.A. (hereinafter “Chase”) repeatedly
                              10        refused to investigate Plaintiff’s claims of identity theft, and has instead
                              11        maintained an interest in money which is the product of identity theft in violation
THE CARDOZA LAW CORPORATION




                              12        of: the California Identity Theft Act (hereinafter “CITA”), Cal. Civ. Code §§
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                              13        1798.93 et seq. and the Rosenthal Fair Debt Collection Practices Act (hereinafter
                              14        “RFDCPA”), Cal. Civ. Code §§ 1788 et seq.
                              15 5.     In addition, Chase has furnished incorrect and/or incomplete information
                              16        regarding the alleged debt based on identity theft to at least one Credit Reporting
                              17        Agency (“CRA”). Plaintiff has disputed Chase’s reporting, and Chase failed to
                              18        do a reasonable reinvestigation into Plaintiff’s dispute, in violation of the Fair
                              19        Credit Reporting Act (hereinafter “FCRA”), 15 U.S.C. §§ 1681 et seq.
                              20 6.     TINA BARNES, by Plaintiff’s attorney, brings this action for actual damages,
                              21        statutory damages, punitive damages, injunctive relief, restitution, attorney fees,
                              22        and costs, against JPMORGAN CHASE BANK, N.A., EXPERIAN
                              23        INFORMATION SOLUTIONS, INC., EQUIFAX INFORMATION
                              24        SERVICES, LLC, TRANS UNION, LLC, AND CBCINNOVIS, INC. for
                              25        violations of: (1) the Fair Credit Reporting Act 15 U.S.C. §§ 1681 et seq., (2) the
                              26        California Consumer Credit Reporting Agencies Act (hereinafter “CCRAA”),
                              27        Cal. Civ. Code §§ 1785 et seq., (3) the California Identity Theft Act, Cal. Civ.
                              28 ///
                                   COMPLAINT                                                                   Page 1 of 29
                                   Case 8:21-cv-01018-DOC-JDE Document 1 Filed 06/08/21 Page 4 of 31 Page ID #:4




                               1        Code §1798.93 et seq., (4) California Penal Code § 530.8, and (5) the Rosenthal
                               2        Fair Debt Collection Practices Act, Cal. Civ. Code § 1788 et seq.
                               3 7.     Plaintiff makes these allegations on information and belief, with the exception
                               4        of those allegations that pertain to the Plaintiff, or to the Plaintiff’s counsel,
                               5        which Plaintiff alleges on personal knowledge.
                               6 8.     While many violations are described below with specificity, this Complaint
                               7        alleges violations of the statutes cited in their entirety.
                               8 9.     All violations by Defendants were knowing, willful, and intentional, and
                               9        Defendants did not maintain procedures reasonably adapted to avoid any such
                              10        violations.
                              11 10. Unless otherwise indicated, the use of a Defendant’s name in this Complaint
THE CARDOZA LAW CORPORATION




                              12        includes all agents, principles, managing agents, employees, officers, members,
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                              13        directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
                              14        representatives, and insurers of those Defendants named.
                              15 11. Unless otherwise stated, all the conduct engaged in by Defendants occurred in
                              16        the State of California.
                              17 12. At all times relevant, Plaintiff was an individual residing within the State of
                              18        California.
                              19                                   FDCPA AND RFDCPA
                              20 13. In enacting the FDCPA, Congress found that:
                              21      a.     There is abundant evidence of the use of abusive, deceptive, and unfair debt
                              22             collection practices by many debt collectors. Abusive debt collection
                              23             practices contribute to the number of personal bankruptcies, to marital
                              24             instability, to the loss of jobs, and to invasions of individual privacy.
                              25      b.     Existing laws and procedures for redressing these injuries are inadequate to
                              26             protect consumers.
                              27      c.     Means other than misrepresentation or other abusive debt collection
                              28             practices are available for the effective collection of debts.
                                   COMPLAINT                                                                   Page 2 of 29
                                   Case 8:21-cv-01018-DOC-JDE Document 1 Filed 06/08/21 Page 5 of 31 Page ID #:5




                               1      d.     Abusive debt collection practices are carried on to a substantial extent in
                               2             interstate commerce and through means and instrumentalities of such
                               3             commerce. Even where abusive debt collection practices are purely intrastate
                               4             in character, they nevertheless directly affect interstate commerce.
                               5      e.     It is the purpose of this title to eliminate abusive debt collection practice by
                               6             debt collectors, to insure that those debt collectors who refrain from using
                               7             abusive debt collection practices are not competitively disadvantaged, and to
                               8             promote consistent State action to protect Consumers against debt collection
                               9             abuses. 15 U.S.C. § 1692.
                              10 14. Similarly, when enacting the RFDCPA, the California Legislature found that:
                              11             The banking and credit system and grantors of credit to consumers are
THE CARDOZA LAW CORPORATION




                              12             dependent upon the collection of just and owing debts. Unfair or
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                              13             deceptive collection practices undermine the public confidence which
                              14             is essential to the continued functioning of the banking and credit
                              15             system and sound extensions of credit to consumers. Cal. Civil Code
                              16             § 1788.1(a)(1).
                              17 15. The FDCPA and the RFDCPA are both strict liability statutes. That is, a
                              18        plaintiff need not prove intent or knowledge on the part of the debt collector to
                              19        establish liability. See Gonzales v. Arrow Fin. Servs., LLC, 660 F.3d 1055,
                              20        1060-61 (9th Cir. 2011); Donohue v. Quick Collect, 592 F.3d 1027, 1030 (“[t]he
                              21        FDCPA is a strict liability statute that makes debt collectors liable for violations
                              22        that are not knowing or intentional”).
                              23 16. To further protect consumers, claims under the FDCPA and RFDCPA are to be
                              24        judged according to the “least sophisticated debtor” or “least sophisticated
                              25        consumer” standard. Gonzales at 1061. This standard is lower than the
                              26        “reasonable debtor” standard, and is specifically designed to protect consumers
                              27        of below average and sophistication or intelligence. Id. In addition, a plaintiff
                              28        need not even have actually been misled or deceived by the debt collector’s
                                   COMPLAINT                                                                  Page 3 of 29
                                   Case 8:21-cv-01018-DOC-JDE Document 1 Filed 06/08/21 Page 6 of 31 Page ID #:6




                               1         communication. Rather, liability depends on whether the hypothetical least
                               2         sophisticated debtor – someone who is uninformed and naïve – would have
                               3         likely been misled. Id.; see also Tourgeman v. Collins Financial Servs., 755
                               4         F.3d 1109, 1119 (9th Cir. 2014)
                               5                                    FCRA and CCRAA
                               6 17. The FCRA, found at 15 U.S.C. § 1681, et seq., was originally enacted in 1970.
                               7         The express purpose of the FCRA was to require that consumer reporting agencies
                               8         adopt and implement “reasonable procedures” for ensuring that credit information
                               9         about a consumer was collected, maintained, and dispensed “in a manner which
                              10         is fair and equitable to the consumer with regard to the confidentiality, accuracy,
                              11         relevancy and proper utilization of such information …” FCRA, 15 U.S.C.
THE CARDOZA LAW CORPORATION




                              12         §1681(b); Safeco Ins. Co. of Am. v. Burr (2007) 551 U.S. 47, 127 S.Ct. 2201,
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                              13         2205. The Congressional findings noted that “[t]here is a need to insure that
                              14         consumer reporting agencies exercise their grave responsibilities with of fairness,
                              15         impartiality, and respect for the consumer’s right to privacy.”1 The FCRA also
                              16         imposes duties on the sources that provide credit information to credit reporting
                              17         agencies, who are called “furnishers.”
                              18 18. The CCRAA, the California version of the FCRA, was originally enacted in
                              19         1975. In language virtually identical to that found in the original FCRA
                              20         legislation, the California Legislature stated the CCRAA’s purpose was “to
                              21         require that consumer credit reporting agencies adopt reasonable procedures”
                              22         for handling credit information so as to ensure it was handled in a manner which
                              23         was “fair and equitable to the consumer with regard to confidentiality, accuracy,
                              24         relevancy, and proper utilization of such information in accordance with the
                              25         requirements of this title.” 2 In 1993, the California Legislature amended the
                              26         CCRAA and added a section that imposes duties on furnishers similar to those
                              27   1   FCRA, 15 U.S.C. § 1681(a)(4)
                              28   2   Cal. Civ. Code § 1785.1(d)
                                   COMPLAINT                                                                 Page 4 of 29
                                   Case 8:21-cv-01018-DOC-JDE Document 1 Filed 06/08/21 Page 7 of 31 Page ID #:7




                               1        found in the FCRA. For example, Cal. Civ. Code § 1785.25(a) provides that the
                               2        furnisher “shall not” furnish credit information to “any credit reporting agency
                               3        if the person [furnisher] knows or should know the information is incomplete
                               4        or inaccurate.”
                               5 19. Under the FCRA, the term “consumer report means any written, oral, or other
                               6        communication of any information by a consumer reporting agency bearing on a
                               7        consumer’s creditworthiness, credit standing, credit capacity, character, general
                               8        reputation, personal characteristics, or mode of living, which is used or expected
                               9        to be used or collected in whole or in part for the purpose of serving as a factor in
                              10        the underwriting of credit transactions involving the consumer.”
                              11                                 JURISDICTION AND VENUE
THE CARDOZA LAW CORPORATION




                              12 20. Jurisdiction of this court arises pursuant to 15 U.S.C. § 1681p (FCRA), 28 U.S.C.
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                              13        § 1331, which grants this court original jurisdiction of all civil actions arising
                              14        under the laws of the United States, and pursuant to 28 U.S.C. § 1367 for pendent
                              15        state law claims.
                              16 21. This action arises out of Defendants’ violations of: (1) the FCRA, (2) CCRAA,
                              17        and (3) CITA, (4) California Penal Code § 530.8, and (5) RFDCPA.
                              18 22. Venue is proper in this District pursuant to 28 U.S.C. § 1391 because the acts and
                              19        transactions occurred here, Plaintiff resides here, and Defendants transact
                              20        business here.
                              21                                           PARTIES
                              22 23. Plaintiff is a natural person who resides in the city of Canoga Park, County of
                              23        Los Angeles, State of California. Plaintiff is a “consumer” as that term is defined
                              24        by 15 U.S.C. § 1681a(c) and by Cal. Civ. Code § 1785.3(b).
                              25 24. Plaintiff is a “victim of identity theft” as that term is defined by Cal. Civ. Code
                              26        §1798.92(d).
                              27 ///
                              28 ///
                                   COMPLAINT                                                                  Page 5 of 29
                                   Case 8:21-cv-01018-DOC-JDE Document 1 Filed 06/08/21 Page 8 of 31 Page ID #:8




                               1 25. Defendant JPMorgan Chase Bank, N.A. is a United States corporation operating
                               2        from an address of 111 Polaris Parkway, Columbus, OH 43240, and is a “person”
                               3        as defined by 15 U.S.C. § 1681a(b).
                               4 26. Chase purports to have a claim for, and/or has attempted to collect, money or an
                               5        interest in property in connection with a transaction procured through identity
                               6        theft and is therefore a “claimant” as that term is defined by Cal. Civ. Code §
                               7        1798.92(a).
                               8 27. This case involves Plaintiff’s “consumer report” as that term is defined by 15
                               9        U.S.C. § 1681a(d)(1) and “consumer credit report(s)” as that term is defined by
                              10        Cal. Civ. Code § 1785.3(c).
                              11 28. Chase is a furnisher of information as contemplated by FCRA sections 1681s-
THE CARDOZA LAW CORPORATION




                              12        2(a) & (b), that regularly and in the ordinary course of business furnishes
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                              13        information to one or more consumer reporting agencies about consumer
                              14        transactions or experiences, and is a “person” who “furnished information on a
                              15        specific transaction or experience to any consumer credit reporting agency”
                              16        under Cal. Civ. Code §§ 1785.3(j) and 1785.25.
                              17 29. Defendant Experian Information Solutions, Inc. (hereinafter “Experian”) is a
                              18        “consumer reporting agency” as that term is defined by 15 U.S.C. § 1681a(f)
                              19        (collectively referred to as “Credit Reporting Agencies” or “CRAs”).
                              20 30. Defendant Equifax Information Services, LLC (hereinafter “Equifax”) is a
                              21        “consumer reporting agency” as that term is defined by 15 U.S.C. § 1681a(f)
                              22        (collectively referred to as “Credit Reporting Agencies” or “CRAs”).
                              23 31. Defendant Trans Union, LLC (hereinafter “Trans Union”) is a “consumer
                              24        reporting agency” as that term is defined by 15 U.S.C. § 1681a(f) (collectively
                              25        referred to as “Credit Reporting Agencies” or “CRAs”).
                              26 32. Defendant CBCInnovis, Inc. (hereinafter “Innovis”) is a “consumer reporting
                              27        agency” as that term is defined by 15 U.S.C. § 1681a(f) (collectively referred
                              28        to as “Credit Reporting Agencies” or “CRAs”).
                                   COMPLAINT                                                             Page 6 of 29
                                   Case 8:21-cv-01018-DOC-JDE Document 1 Filed 06/08/21 Page 9 of 31 Page ID #:9




                               1 33. This case involves money due or owing or alleged to be due or owing from a
                               2        natural person by reason of a consumer credit transaction. As such, this action
                               3        arises out of a “consumer debt” and “consumer credit” as those terms are
                               4        defined by Cal. Civ. Code § 1788.2(f).
                               5 34. Plaintiff is informed and believes, and thereon allege that at all times herein
                               6        mentioned Named Defendant were agents, officers, directors, managing agents,
                               7        employee and/or joint venturer of each of their co-Defendant and, in doing the
                               8        things hereafter mentioned, each was acting in the scope of his authority as such
                               9        agent, officer, director, managing agent, employee, and/or joint venturer, and
                              10        with the permission, knowledge, ratification, and consent of their co-Defendant,
                              11        and each of them. Any reference hereafter to “Defendant” without further
THE CARDOZA LAW CORPORATION




                              12        qualification is meant by Plaintiff to refer to each Defendant, and all of them,
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                              13        named above.
                              14                                  FACTUAL ALLEGATIONS
                              15 35. Plaintiff is an individual residing in the County of Los Angeles in the State of
                              16        California.
                              17 36. Plaintiff is informed and believes, and thereon alleges, that at all times relevant,
                              18        Defendants conducted and continue to conduct business in the State of
                              19        California.
                              20 37. Plaintiff is victim of identity theft.
                              21 38. Plaintiff is 70 years old.
                              22 39. In the beginning of 2020, Plaintiff obtained copies of her credit reports and saw
                              23        that there were two Chase accounts with past due balances on there that were
                              24        not hers and that she did not authorize anyone to open on her behalf.
                              25 40. Plaintiff disputed the accounts to Chase and to third parties Experian, Equifax,
                              26        and Trans Union several times online.
                              27 41. The accounts were not removed from her credit reports, but rather were
                              28        “verified” as accurate by Chase, Experian, Equifax, and Trans Union.
                                   COMPLAINT                                                               Page 7 of 29
                                Case 8:21-cv-01018-DOC-JDE Document 1 Filed 06/08/21 Page 10 of 31 Page ID #:10




                               1 42. Chase provided Plaintiff with some details of the applications (not the actual
                               2       applications themselves) and the credit card statements for both accounts via
                               3       letter dated March 4, 2020.
                               4 43. Plaintiff sent a dispute to Chase on or around May 8, 2020, via written letter,
                               5       and sent disputes to third parties Experian, Equifax, and Trans Union on or
                               6       around April 28, 2020, via written letter.
                               7            a. The disputes to Chase, Experian, Equifax, and Trans Union included a
                               8               copy of the police report and notified them that Plaintiff was a victim
                               9               of ID theft regarding the two Chase accounts she was disputing.
                              10 44. Again, the accounts were not removed from her credit reports, but rather were
                              11       “verified” as accurate by Chase, Experian, Equifax, and Trans Union.
THE CARDOZA LAW CORPORATION




                              12 45. Experian did not block the account from Plaintiff’s credit file after receiving
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                              13       the April 28, 2020, dispute.
                              14 46. Equifax did not block the account from Plaintiff’s credit file after receiving the
                              15       April 28, 2020, dispute.
                              16 47. Trans Union did not block the account from Plaintiff’s credit file after receiving
                              17       the April 28, 2020, dispute.
                              18 48. Plaintiff is not sure how an unknown third party obtained access to her personal
                              19       identifying information to open these credit card accounts without her
                              20       knowledge or permission.
                              21 49. The statements and application show that addresses in Las Vegas, Nevada, were
                              22       used to open the accounts, specifically: 9021 Moss Creek Circle, Las Vegas,
                              23       NV 89117 and 11021 Rossi Ave, Las Vegas, NV 89144.
                              24 50. Plaintiff has never lived in or been associated with Nevada, or in Las Vegas
                              25       specifically.
                              26 51. Plaintiff has never lived at or been associated with the address of 9021 Moss
                              27       Creek Circle, Las Vegas, NV 89117.
                              28 ///
                                   COMPLAINT                                                             Page 8 of 29
                                Case 8:21-cv-01018-DOC-JDE Document 1 Filed 06/08/21 Page 11 of 31 Page ID #:11




                               1 52. Plaintiff has never lived at or been associated with the address of 11021 Rossi
                               2      Ave, Las Vegas, NV 89144.
                               3 53. Plaintiff does not know anyone associated with either the 9021 Moss Creek
                               4      Circle, Las Vegas, NV 89117 address, or the 11021 Rossi Ave, Las Vegas, NV
                               5      89144 address.
                               6 54. Plaintiff did not create, has never had, and has never used the email address
                               7      tinabar1950@yahoo.com.
                               8 55. Plaintiff has never been associated with, never used, and has never authorized
                               9      anyone to associate her with the phone number 702-340-1950.
                              10 56. On or around February 4, 2020, Plaintiff went to a Los Angeles Police
                              11      Department and reported that her identity had been stolen, that someone had
THE CARDOZA LAW CORPORATION




                              12      used her personal information to gain credit and make purchases, and that she
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                              13      did not know who had stolen her identity.
                              14 57. On or around September 1, 2020, Plaintiff again mailed IDTNs to Chase,
                              15      Experian, Equifax, and Trans Union, and mailed a first IDTN to Innovis.
                              16 58. The September IDTNs sent to each of the Defendants contained a letter
                              17      disputing the account information and informing all recipients that Plaintiff was
                              18      a victim of identity theft. The letter stated the facts regarding Plaintiff’s
                              19      discovery of the fraudulent accounts on her credit reports and the prior IDTN’s
                              20      that she’d sent out in April and May 2020.
                              21 59. The September IDTNs requested that each of the Defendants investigate the
                              22      accounts and the ID theft within 30 days of receipt of the letter, and requested
                              23      confirmation that Plaintiff would no longer be responsible for the two Chase
                              24      accounts.
                              25 60. The September IDTNs also requested that each recipient send, within 10
                              26      business days of receipt of the letter, Plaintiff information regarding the types
                              27      of identifying information that the identity thief used to create the account, as
                              28      well as copies of all records associated with the account.
                                   COMPLAINT                                                             Page 9 of 29
                                Case 8:21-cv-01018-DOC-JDE Document 1 Filed 06/08/21 Page 12 of 31 Page ID #:12




                               1 61. The September IDTN to Chase included the following as enclosures: Affidavit
                               2       of Identity Theft and Police Report, a copy of Plaintiff’s driver’s license, a
                               3       handwriting sample, an annotated copy of Plaintiff’s credit reports with the
                               4       disputed items circled, and a copy of the May 2020 IDTN.
                               5 62. The September IDTNs to Experian, Equifax, and Trans Union included the
                               6       following as enclosures: Affidavit of Identity Theft and Police Report, a copy
                               7       of Plaintiff’s driver’s license, an annotated copy of Plaintiff’s credit reports with
                               8       the disputed items circled, and a copy of the April 2020 IDTNs.
                               9 63. The September IDTN to Innovis included the following as enclosures: Affidavit
                              10       of Identity Theft and Police Report, a copy of Plaintiff’s driver’s license, and
                              11       an annotated copy of Plaintiff’s credit reports with the disputed items circled.
THE CARDOZA LAW CORPORATION




                              12 64. Chase received Plaintiff’s mailed IDTN on or around September 8, 2020.
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                              13 65. Experian received Plaintiff’s mailed IDTN on or around September 5, 2020.
                              14            a. Experian responded via letter dated September 7, 2020, stating that it is
                              15               unable to honor Plaintiff’s request “based on the limited amount of
                              16               information regarding [her] dispute.” Experian asked for specific
                              17               information, including a copy of government issued ID (provided with
                              18               the original IDTN) and a copy of a utility bill, bank, or insurance
                              19               statement.
                              20            b. Experian also provided an updated credit report dated September 9,
                              21               2020, which showed the inaccurate information still being reported.
                              22            c. Experian responded again via letter dated September 15, 2020, stating
                              23               that they were declining to block the accounts from her credit report
                              24               because it determined the request was made in error, was a
                              25               misrepresentation of material fact, or Plaintiff obtained possession of
                              26               goods, services, or money as a result of the transaction.
                              27 ///
                              28 ///
                                   COMPLAINT                                                                 Page 10 of 29
                                Case 8:21-cv-01018-DOC-JDE Document 1 Filed 06/08/21 Page 13 of 31 Page ID #:13




                               1           d. Experian responded again through their online dispute platform stating
                               2               that the Chase account with the balance of $1007 was deleted and/or
                               3               blocked.
                               4           e. Experian responded again via letter dated September 16, 2020, showing
                               5               that the Chase account with the balance of $5146 was still being
                               6               reported to her credit report.
                               7           f. Experian responded again through their online dispute platform stating
                               8               that the Chase account with the balance of $5,146 was deleted and/or
                               9               blocked.
                              10           g. Plaintiff obtained her October 14, 2020, Experian credit report online
                              11               and it showed that both Chase accounts were deleted and/or blocked.
THE CARDOZA LAW CORPORATION




                              12 66. Trans Union received Plaintiff’s mailed IDTN on or around September 17,
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                              13       2020, and her online IDTN on September 1, 2020.
                              14           a. Trans Union responded via letter dated September 4, 2020, stating that
                              15               it declined to block the information from her report because it
                              16               determined the request was made in error, was a misrepresentation of
                              17               material fact, or Plaintiff obtained possession of goods, services, or
                              18               money as a result of the transaction.
                              19           b. Trans Union responded again by letter dated September 11, 2020,
                              20               stating that the Chase account with the balance of $5,146, had
                              21               apparently been deleted/blocked from her Trans Union report and
                              22               added back as of September 11, 2020, because it was verified as
                              23               accurate.
                              24           c. Trans Union responded again via letter dated September 16, 2020,
                              25               stating that the Chase account with the balance of $1007 was
                              26               deleted/blocked, and the two Chase inquiries dated 2/7/2019 and
                              27               3/1/2019 were also deleted and/or blocked.
                              28 ///
                                   COMPLAINT                                                           Page 11 of 29
                                Case 8:21-cv-01018-DOC-JDE Document 1 Filed 06/08/21 Page 14 of 31 Page ID #:14




                               1           d. Trans Union responded again via letter dated September 25, 2020,
                               2               stating that the Chase account with the balance of $5,146 was deleted
                               3               and/or blocked.
                               4           e. Plaintiff obtained her October 14, 2020, Trans Union credit report
                               5               online and it showed that both Chase accounts were deleted and/or
                               6               blocked.
                               7 67. Innovis received Plaintiff’s mailed IDTN on or around September 5, 2020, and
                               8      her online IDTN on September 1, 2020.
                               9           a. Innovis responded by letter dated September 10, 2020, indicating that
                              10               the accounts did not appear on her report and provided a report dated
                              11               September 10, 2020, showing that the Chase accounts did not appear
THE CARDOZA LAW CORPORATION




                              12               on her credit report.
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                              13           b. Plaintiff obtained her October 1, 2020 Innovis credit report online, and
                              14               it showed that the Chase account with the balance of $1007 was
                              15               reinserted in Plaintiff’s Innovis credit file.
                              16           c. Plaintiff obtained her October 14, 2020, Innovis credit report online and
                              17               it showed that the Chase account with the balance of $1007 was being
                              18               reported to her credit.
                              19           d. Plaintiff obtained her May 5, 2021, Innovis credit report online and it
                              20               showed that both Chase accounts were deleted and/or blocked.
                              21 68. Equifax received Plaintiff’s mailed IDTN on or around September 10, 2020.
                              22           a. Plaintiff obtained her October 14, 2020, Equifax credit report online
                              23               and it showed that both Chase accounts were deleted and/or blocked.
                              24 69. Since sending the official police report to Chase, Innovis, Experian, Trans
                              25      Union, and Equifax, Chase has continued reporting the account to, on
                              26      information and belief, all four Credit Reporting Agencies, but it is no longer
                              27      reporting with all four of the CRAs because, on information and belief, Equifax,
                              28      Experian, and Trans Union have blocked the accounts from appearing as of
                                   COMPLAINT                                                             Page 12 of 29
                                Case 8:21-cv-01018-DOC-JDE Document 1 Filed 06/08/21 Page 15 of 31 Page ID #:15




                               1       October 2020, and, on information and belief, Innovis had blocked the accounts
                               2       from appearing as of May 2021.
                               3 70. Chase has refused to adequately investigate Plaintiff’s numerous claims of
                               4       identity theft, and has continued to report the alleged debt to Plaintiff’s credit
                               5       report(s).
                               6 71. Chase has maintained its claim to Plaintiff’s money and/or property by
                               7       maintaining that Plaintiff owes the alleged debt.
                               8 72. Chase ignored Plaintiff’s disputes and instead maintained its interest in
                               9       Plaintiff’s money and property that is the product of identity theft by: (1)
                              10       continuing to report the alleged debt to Plaintiff’s credit report(s), (2)
                              11       continuing to attempt to collect the alleged debt from Plaintiff, and (3)
THE CARDOZA LAW CORPORATION




                              12       maintaining that Plaintiff is responsible for paying the alleged debt – despite
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                              13       knowing that the Chase accounts were fraudulently opened and used, and thus
                              14       the debt was created as a result of identity theft.
                              15 73. A claimant, as defined by C.C.P. section 1798.92(a), “means a person who has
                              16       or purports to have a claim for money or an interest in property in connection
                              17       with a transaction procured through identity theft.”
                              18 74. Chase purports to have an interest in Plaintiff’s money and property because it
                              19       is still reporting the alleged debt to Plaintiff’s credit report(s), it is continuing
                              20       to attempt to collect the debt, and it has not disassociated this debt from Plaintiff
                              21       and his personal information. This constitutes an actual or purported claim for
                              22       money and/or an actual or purported interest in property on the part of Chase.
                              23 75. Plaintiff has requested and demanded that she and her personal information be
                              24       disassociated from the alleged debt, that Chase remove the alleged debt to
                              25       Plaintiff’s credit reports, that Chase stop attempting to collect the alleged debt
                              26       from Plaintiff, and that Chase acknowledge that Plaintiff does not owe this
                              27       alleged debt. Chase has failed and refused to do so.
                              28 ///
                                   COMPLAINT                                                                 Page 13 of 29
                                Case 8:21-cv-01018-DOC-JDE Document 1 Filed 06/08/21 Page 16 of 31 Page ID #:16




                               1 76. Plaintiff did not consent to the use of her personal information to open the
                               2       fraudulent Chase accounts that Chase is attempting to collect from Plaintiff.
                               3                                  ACTUAL DAMAGES
                               4 77. As a result of Defendants’ actions, omissions, and inaction, Plaintiff has
                               5       suffered damage in the form of pecuniary loss, damage to credit, invasion of
                               6       privacy, personal embarrassment, loss of personal reputation, loss of productive
                               7       time, nausea, and feelings of fear, anxiety, hopelessness, anger, persecution,
                               8       emotional distress, frustration, upset, humiliation, and embarrassment, amongst
                               9       other negative emotions. Plaintiff has further spent countless hours and suffered
                              10       pecuniary loss in attempting to correct Defendants’ reporting of inaccurate and
                              11       derogatory information, without success, including but not limited to time loss,
THE CARDOZA LAW CORPORATION




                              12       and charges for postage.
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                              13 78. Plaintiff’s injuries are concrete. Defendants’ conduct of reporting inaccurate
                              14       and derogatory information is analogous to the common law tort of defamation.
                              15       Furthermore, Congress and the California legislature enacted the FCRA and
                              16       CCRAA to protect consumers from precisely the conduct described in this
                              17       Complaint. Congress and the California legislature found that the banking
                              18       system is dependent upon fair and accurate credit reporting; and that, inaccurate
                              19       credit reports directly impair the efficiency of the banking system, and unfair
                              20       credit reporting methods undermine the public confidence, which is essential to
                              21       the continued functioning of the banking system. Consequently, the FCRA and
                              22       CCRAA were enacted to insure fair and accurate reporting, promote efficiency
                              23       in the banking system and protect consumer privacy; and to ensure that
                              24       consumer reporting agencies exercise their grave responsibilities with fairness,
                              25       impartiality, and a respect for the consumer’s right to privacy because consumer
                              26       reporting agencies have assumed such a vital role in assembling and evaluating
                              27       consumer credit and other information on consumers. The alleged
                              28       transgressions by Defendant would, if left unchecked in a competitive
                                   COMPLAINT                                                              Page 14 of 29
                                Case 8:21-cv-01018-DOC-JDE Document 1 Filed 06/08/21 Page 17 of 31 Page ID #:17




                               1       marketplace, naturally propagate had Congress and the California legislature
                               2       not created laws to give vulnerable consumers a voice and a mechanism for
                               3       private enforcement.
                               4                      CAUSES OF ACTION CLAIMED BY PLAINTIFF
                               5                                         COUNT I
                               6                  VIOLATION OF THE FAIR CREDIT REPORTING ACT
                               7                              15 U.S.C. § 1681S-2(B)(1)(A)
                               8                                    [AGAINST CHASE]
                               9 79. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                              10       as though fully stated herein.
                              11 80. On one or more occasions within the two years prior to the filing of this suit, by
THE CARDOZA LAW CORPORATION




                              12       example only and without limitation, Chase violated 15 U.S.C. §1681s-
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                              13       2(b)(l)(A) by failing to fully and properly investigate Plaintiff’s disputes.
                              14 81. Defendants understood the nature of Plaintiff’s disputes when it received
                              15       ACDVs from Experian, Equifax, TransUnion, and Innovis.
                              16 82. As a result of the conduct, actions and inactions of Chase. the Plaintiff suffered
                              17       actual damages including without limitation, by example only and as described
                              18       herein on Plaintiff’s behalf by counsel: loss of credit, damage to reputation,
                              19       embarrassment, humiliation and other mental and emotional distress.
                              20 83. The conduct, actions and inactions by Chase were willful, rendering Chase
                              21       liable for punitive damages in an amount to be determined by the Court pursuant
                              22       to 15 U.S.C. §1681n. In the alternative, Chase was negligent, entitling the
                              23       Plaintiff to recover under 15 U.S.C. §1681o.
                              24 84. The Plaintiff is entitled to recover actual damages, statutory damages, costs and
                              25       attorney's fees from Chase in an amount to be determined by the Court pursuant
                              26       to 15 U.S.C. §1681n and §1681o.
                              27 ///
                              28 ///
                                   COMPLAINT                                                               Page 15 of 29
                                Case 8:21-cv-01018-DOC-JDE Document 1 Filed 06/08/21 Page 18 of 31 Page ID #:18




                               1                                        COUNT II
                               2                  VIOLATION OF THE FAIR CREDIT REPORTING ACT
                               3                              15 U.S.C. § 1681S-2(B)(1)(B)
                               4                                    [AGAINST CHASE]
                               5 85. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                               6       as though fully stated herein.
                               7 86. On one or more occasions within the two years prior to the filing of this suit, by
                               8       example only and without limitation, Chase violated 15 U.S.C. §1681s-
                               9       2(b)(l)(B) by failing to review all relevant information provided by the
                              10       consumer reporting agencies.
                              11 87. As a result of the conduct, actions and inactions of Chase, the Plaintiff suffered
THE CARDOZA LAW CORPORATION




                              12       actual damages including without limitation, by example only and as described
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                              13       herein on Plaintiff’s behalf by counsel: loss of credit, damage to reputation,
                              14       embarrassment, humiliation and other mental and emotional distress.
                              15 88. The conduct, actions and inactions by Chase were willful, rendering Defendants
                              16       liable for punitive damages in an amount to be determined by the Court pursuant
                              17       to 15 U.S.C. §1681n. In the alternative Chase was negligent, entitling the
                              18       Plaintiff to recover under 15 U.S.C. §1681o.
                              19 89. The Plaintiff is entitled to recover actual damages, statutory damages, costs and
                              20       attorney's fees from Chase in an amount to be determined by the Court pursuant
                              21       to 15 U.S.C. §1681n and §1681o.
                              22                                        COUNT III
                              23                  VIOLATION OF THE FAIR CREDIT REPORTING ACT
                              24                         15 U.S.C. § 1681S-2(B)(1)(C) AND (D)
                              25                                    [AGAINST CHASE]
                              26 90. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                              27       as though fully stated herein.
                              28 ///
                                   COMPLAINT                                                             Page 16 of 29
                                Case 8:21-cv-01018-DOC-JDE Document 1 Filed 06/08/21 Page 19 of 31 Page ID #:19




                               1 91. On one or more occasions within the two years prior to the filing of this suit, by
                               2       example only and without limitation, Chase violated 15 U.S.C. §1681s-
                               3       2(b)(l)(C) and (D) by publishing the Chase accounts through reporting said
                               4       accounts to Plaintiff’s credit files with Experian, Equifax, TransUnion, and
                               5       Innovis and failing to correctly report results of an accurate investigation to
                               6       each other credit reporting agency.
                               7 92. As a result of the conduct, actions and inactions of Chase, the Plaintiff suffered
                               8       actual damages including without limitation, by example only and as described
                               9       herein on Plaintiff’s behalf by counsel: loss of credit, damage to reputation,
                              10       embarrassment, humiliation and other mental and emotional distress.
                              11 93. On information and belief, Plaintiff alleges that the procedures followed
THE CARDOZA LAW CORPORATION




                              12       regarding Plaintiff’s FCRA disputes through e-Oscar were the procedures that
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                              13       Chase intended their employees or agents to follow.
                              14 94. The conduct, actions and inactions by Defendants were willful, rendering Chase
                              15       liable for punitive damages in an amount to be determined by the Court pursuant
                              16       to 15 U.S.C. §1681n. In the alternative Chase was negligent, entitling the
                              17       Plaintiff to recover under 15 U.S.C. §1681o.
                              18 95. The Plaintiff is entitled to recover actual damages, statutory damages, costs and
                              19       attorney's fees from Chase in an amount to be determined by the Court pursuant
                              20       to 15 U.S.C. §1681n and §1681o.
                              21                                        COUNT IV
                              22                              VIOLATION OF THE CCRAA
                              23                              CAL. CIV. CODE § 1785.25(A)
                              24                                    [AGAINST CHASE]
                              25 96. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                              26       as though fully stated herein.
                              27 97. On one or more occasions within the two years prior to the filing of this suit, by
                              28       example only and without limitation, Chase violated Cal Civ §1785.25(a) by
                                   COMPLAINT                                                             Page 17 of 29
                                Case 8:21-cv-01018-DOC-JDE Document 1 Filed 06/08/21 Page 20 of 31 Page ID #:20




                               1       furnishing incomplete and/or inaccurate information about Plaintiff to one or
                               2       more consumer credit reporting agencies when they knew or should have
                               3       known that the information was incomplete or inaccurate.
                               4 98. As a result of the conduct, actions and inactions of Chase the Plaintiff suffered
                               5       actual damages including without limitation, by example only and as described
                               6       herein on Plaintiff’s behalf by counsel: loss of credit, damage to reputation,
                               7       embarrassment, humiliation and other mental and emotional distress.
                               8 99. The conduct, actions and inactions by Chase were willful, rendering Defendants
                               9       liable for punitive damages in an amount of up to $5,000 for each violation to
                              10       be determined by the Court pursuant to Cal. Civ. §1731(a)(2)(B). In the
                              11       alternative Chase was negligent entitling the Plaintiff to recover under Cal Civ
THE CARDOZA LAW CORPORATION




                              12       §1731(a)(1).
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                              13 100. The Plaintiff is entitled to recover actual damages, costs, and attorney's fees
                              14       from Chase in an amount to be determined by the Court pursuant to Cal Civ
                              15       §1731(a)(1).
                              16                                         COUNT IV
                              17                                VIOLATION OF THE CITA
                              18                           CAL. CIV. CODE § 1798.93, ET SEQ.
                              19                                     [AGAINST CHASE]
                              20 101. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                              21       as though fully stated herein.
                              22 102. The foregoing acts and omissions constitute numerous and multiple violations of
                              23       the CITA.
                              24 103. Plaintiff brings this cause of action pursuant to Cal. Civ. Code § 1798.93. Plaintiff
                              25       is the victim of identity theft in connection with the alleged claims of Defendant(s)
                              26       based upon alleged debts and/ or security interest resulting from identity theft.
                              27 104. Plaintiff has provided written notice to Chase that a situation of identity theft may
                              28       exist with respect to the money, including a copy of the Police Report. Chase has
                                   COMPLAINT                                                                 Page 18 of 29
                                Case 8:21-cv-01018-DOC-JDE Document 1 Filed 06/08/21 Page 21 of 31 Page ID #:21




                               1       failed to diligently investigate Plaintiff’s notifications of identity theft. Chase has
                               2       continued to maintain a claim for money and/or interest in Plaintiff’s money after
                               3       they were presented with the facts that entitle Plaintiff to a judgment pursuant to
                               4       Cal. Civ. Code § 1798.93.
                               5 105. As a result of each and every violation of the CITA, Plaintiff is entitled to actual
                               6       damages, including emotional distress damages, pursuant to Cal. Civ. Code §
                               7       1798.93(a)(5); attorney’s fees and costs pursuant to Cal. Civ. Code §
                               8       1798.93(c)(5); any equitable relief the court deems appropriate pursuant to Cal.
                               9       Civ. Code § 1798.93(c)(5); and a civil penalty, in addition to any other damages,
                              10       of up to $30,000.00, from Chase, pursuant to Cal. Civ. Code § 1798.93(c)(6).
                              11 106. In addition, Plaintiff is entitled to a declaration that Plaintiff is not obligated to
THE CARDOZA LAW CORPORATION




                              12       Chase on any claim under Cal. Civ. Code § 1798.93(c)(1); a declaration that any
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                              13       security interest or other interest Chase purportedly obtained in the Plaintiff’s
                              14       property in connection with the claim is void and unenforceable, under Cal. Civ.
                              15       Code § 1798.93(c)(2); an injunction restraining Chase from collecting or
                              16       attempting to collect on the claim, from enforcing or attempting to enforce any
                              17       security interest or other interest in Plaintiff’s property in connection with the
                              18       claim, or from enforcing or executing on any judgment against Plaintiff on the
                              19       claim under Cal. Civ. Code § 1798.93(c)(3); and the dismissal of any cause of
                              20       action based on a claim, which arose because of identity theft under
                              21       Cal. Civ. Code § 1798.93(c)(4).
                              22                                          COUNT V
                              23                   VIOLATION OF THE FAIR CREDIT REPORTING ACT
                              24                                  15 U.S.C. § 1681C-2(A)
                              25             [AGAINST EXPERIAN, EQUIFAX, TRANS UNION, AND INNOVIS]
                              26 107. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                              27       as though fully stated herein.
                              28 ///
                                   COMPLAINT                                                                   Page 19 of 29
                                Case 8:21-cv-01018-DOC-JDE Document 1 Filed 06/08/21 Page 22 of 31 Page ID #:22




                               1 108. Defendant Experian violated 15 U.S.C. §1681c-2(a) when it failed to block the
                               2      reporting of information in Plaintiff’s consumer file that Plaintiff identified as
                               3      having resulted from an alleged identity theft within 4 days of receipt of proof
                               4      of identity, ID theft report, identification of the ID theft related information, and
                               5      a statement from Plaintiff that the information is not related to any transaction
                               6      made by Plaintiff.
                               7           a. Plaintiff sent Experian a dispute dated April 28, 2020, and attached a
                               8               police report detailing the identity theft.
                               9           b. Experian did not delete the account from Plaintiff’s credit file until
                              10               around October 2020.
                              11 109. Defendant Equifax violated 15 U.S.C. §1681c-2(a) when it failed to block the
THE CARDOZA LAW CORPORATION




                              12      reporting of information in Plaintiff’s consumer file that Plaintiff identified as
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                              13      having resulted from an alleged identity theft within 4 days of receipt of proof
                              14      of identity, ID theft report, identification of the ID theft related information, and
                              15      a statement from Plaintiff that the information is not related to any transaction
                              16      made by Plaintiff.
                              17           a. Plaintiff sent Equifax a dispute dated April 28, 2020, and attached a
                              18               police report detailing the identity theft.
                              19           b. Equifax did not delete the account from Plaintiff’s credit file until
                              20               around October 2020.
                              21 110. Defendant Trans Union violated 15 U.S.C. §1681c-2(a) when it failed to block
                              22      the reporting of information in Plaintiff’s consumer file that Plaintiff identified
                              23      as having resulted from an alleged identity theft within 4 days of receipt of proof
                              24      of identity, ID theft report, identification of the ID theft related information, and
                              25      a statement from Plaintiff that the information is not related to any transaction
                              26      made by Plaintiff.
                              27           a. Plaintiff sent Trans Union a dispute dated April 28, 2020, and attached
                              28               a police report detailing the identity theft.
                                   COMPLAINT                                                                Page 20 of 29
                                Case 8:21-cv-01018-DOC-JDE Document 1 Filed 06/08/21 Page 23 of 31 Page ID #:23




                               1            b. Trans Union did not delete the account from Plaintiff’s credit file until
                               2               around October 2020.
                               3 111. Defendant Innovis violated 15 U.S.C. §1681c-2(a) when it failed to block the
                               4       reporting of information in Plaintiff’s consumer file that Plaintiff identified as
                               5       having resulted from an alleged identity theft within 4 days of receipt of proof
                               6       of identity, ID theft report, identification of the ID theft related information, and
                               7       a statement from Plaintiff that the information is not related to any transaction
                               8       made by Plaintiff.
                               9            a. On September 1, 2020, Plaintiff sent, via certified mail as well as online
                              10               submission, an IDTN to Defendant Innovis, which included her name,
                              11               full SSN, address, date of birth, a statement that the Chase accounts
THE CARDOZA LAW CORPORATION




                              12               were fraudulently applied for, opened, and used due to the theft of
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                              13               Plaintiff’s identity, a police report regarding the identity theft, an
                              14               affidavit of identity theft, a copy of Plaintiff’s driver’s license, and an
                              15               annotate copy of her credit report with the disputed accounts and items
                              16               circled.
                              17 112. As of October 29, 2020, Defendant Innovis’s credit reports for Plaintiff still
                              18       showed the Chase account with the balance of $1007.
                              19 113. Sometime between October 29, 2020, and May 5, 2021, Defendant Innovis
                              20       removed/deleted/blocked the account from Plaintiff’s credit file.
                              21 114. The conduct, actions and inactions by Defendants Experian, Equifax, Trans
                              22       Union, and Innovis were willful, rendering Defendants Experian, Equifax,
                              23       Trans Union, and Innovis liable for punitive damages in an amount to be
                              24       determined by the Court pursuant to 15 U.S.C. §1681n. In the alternative
                              25       Defendant Innovis was negligent entitling the Plaintiff to recover under 15
                              26       U.S.C. §1681o.
                              27 115. The Plaintiff is entitled to recover actual damages, statutory damages, costs and
                              28       attorney's fees from Defendants Experian, Equifax, Trans Union, and Innovis
                                   COMPLAINT                                                                 Page 21 of 29
                                Case 8:21-cv-01018-DOC-JDE Document 1 Filed 06/08/21 Page 24 of 31 Page ID #:24




                               1       in an amount to be determined by the Court pursuant to 15 U.S.C. §1681n and
                               2       §1681o.
                               3                                        COUNT VI
                               4                  VIOLATION OF THE FAIR CREDIT REPORTING ACT
                               5                                 15 U.S.C. § 1681I(A)(1)
                               6            [AGAINST EXPERIAN, EQUIFAX, TRANS UNION, AND INNOVIS]
                               7 116. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                               8       as though fully stated herein.
                               9 117. Defendants Experian, Equifax, Trans Union, and Innovis violated 15 U.S.C.
                              10       §1681i(a)(l) by failing to conduct a reasonable reinvestigation to determine
                              11       whether the disputed information was inaccurate and record the current status
THE CARDOZA LAW CORPORATION




                              12       of the disputed information or delete the item from the Plaintiff’s credit files.
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                              13 118. The conduct, actions and inactions by Defendants Experian, Equifax, Trans
                              14       Union, and Innovis were willful, rendering Defendants Experian, Equifax,
                              15       Trans Union, and Innovis liable for punitive damages in an amount to be
                              16       determined by the Court pursuant to 15 U.S.C. §1681n. In the alternative
                              17       Defendants Experian, Equifax, Trans Union, and Innovis was negligent
                              18       entitling the Plaintiff to recover under 15 U.S.C. §1681o.
                              19 119. The Plaintiff is entitled to recover actual damages, statutory damages, costs and
                              20       attorney's fees from Defendant Innovis in an amount to be determined by the
                              21       Court pursuant to 15 U.S.C. §1681n and §1681o.
                              22                                        COUNT VII
                              23                  VIOLATION OF THE FAIR CREDIT REPORTING ACT
                              24                                 15 U.S.C. § 1681I(A)(4)
                              25            [AGAINST EXPERIAN, EQUIFAX, TRANS UNION, AND INNOVIS]
                              26 120. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                              27       as though fully stated herein.
                              28 ///
                                   COMPLAINT                                                               Page 22 of 29
                                Case 8:21-cv-01018-DOC-JDE Document 1 Filed 06/08/21 Page 25 of 31 Page ID #:25




                               1 121. Defendant Innovis violated 15 U.S.C. §1681i(a)(4) on multiple occasions by
                               2       failing to review and consider all relevant information submitted by Plaintiff.
                               3 122. The conduct, actions and inactions by Defendants Experian, Equifax, Trans
                               4       Union, and Innovis were willful, rendering Defendants Experian, Equifax,
                               5       Trans Union, and Innovis liable for punitive damages in an amount to be
                               6       determined by the Court pursuant to 15 U.S.C. §1681n. In the alternative
                               7       Defendants Experian, Equifax, Trans Union, and Innovis were negligent
                               8       entitling the Plaintiff to recover under 15 U.S.C. §1681o.
                               9 123. The Plaintiff is entitled to recover actual damages, statutory damages, costs and
                              10       attorney's fees from Defendants Experian, Equifax, Trans Union, and Innovis
                              11       in an amount to be determined by the Court pursuant to 15 U.S.C. §1681n and
THE CARDOZA LAW CORPORATION




                              12       §1681o.
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                              13                                        COUNT VIII
                              14                  VIOLATION OF THE FAIR CREDIT REPORTING ACT
                              15                               15 U.S.C. § 1681I(A)(5)(A)
                              16            [AGAINST EXPERIAN, EQUIFAX, TRANS UNION, AND INNOVIS]
                              17 124. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                              18       as though fully stated herein.
                              19 125. Defendants Experian, Equifax, Trans Union, and Innovis violated 15 U.S.C.
                              20       §1681i(a)(5)(A) by failing to promptly delete the disputed inaccurate item of
                              21       information from Plaintiff’s credit file or modify the item of information upon
                              22       an accurate reinvestigation.
                              23 126. The conduct, actions and inactions by Defendants Experian, Equifax, Trans
                              24       Union, and Innovis were willful, rendering Defendant Innovis liable for
                              25       punitive damages in an amount to be determined by the Court pursuant to 15
                              26       U.S.C. §1681n. In the alternative Defendants Experian, Equifax, Trans Union,
                              27       and Innovis were negligent entitling the Plaintiff to recover under 15 U.S.C.
                              28       §1681o.
                                   COMPLAINT                                                             Page 23 of 29
                                Case 8:21-cv-01018-DOC-JDE Document 1 Filed 06/08/21 Page 26 of 31 Page ID #:26




                               1 127. The Plaintiff is entitled to recover actual damages, statutory damages, costs and
                               2       attorney's fees from Defendants Experian, Equifax, Trans Union, and Innovis
                               3       in an amount to be determined by the Court pursuant to 15 U.S.C. §1681n and
                               4       §1681o.
                               5                                         COUNT IX
                               6                      VIOLATION OF § 1788.17 OF THE RFDCPA
                               7                                    [AGAINST CHASE]
                               8 128. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                               9       as though fully stated herein.
                              10 129. A defendant violates § 1788.17 of the RFDCPA when it fails to comply with
                              11       the provisions of 15 U.S.C. § 1692b to 1692j, inclusive.
THE CARDOZA LAW CORPORATION




                              12 130. Defendant Chase violated § 1788.17 of the RFDCPA when they willfully
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                              13       engaged in conduct, the natural consequence of which the violation of 15 U.S.C.
                              14       § 1692e and § 1692f.
                              15            a. A debt collector violates § 1692e of the FDCPA when it uses any false,
                              16               deceptive, or misleading representation or means in connection with the
                              17               collection of any debt.
                              18            b. A debt collector violates §1692e(2)(a) of the FDCPA when it falsely
                              19               represents the character, amount, and legal status of a debt.
                              20                   i. Chase violated § 1692e(2)(a) when it, among other qualifying
                              21                      actions and omissions, willfully misrepresented the character,
                              22                      amount and legal status of the debt in that it represented that
                              23                      Plaintiff owed the debt when she did not.
                              24            c. A debt collector violates §1692e(8) when it communicates and/or
                              25               threatens to communicate credit information which is known or should
                              26               be known to be false.
                              27                   i. Chase violated §1692e(8) when it reported the fraudulent debt to
                              28                      Plaintiff’s Experian, Equifax, Trans Union, and Innovis credit
                                   COMPLAINT                                                               Page 24 of 29
                                Case 8:21-cv-01018-DOC-JDE Document 1 Filed 06/08/21 Page 27 of 31 Page ID #:27




                               1                      reports when it knew or should have known that the debt was
                               2                      fraudulently obtained using Plaintiff’s personal identifying
                               3                      information without her permission – i.e. that it knew or should
                               4                      have known that the accounts were only opened and used as a
                               5                      result of the theft of Plaintiff’s identity.
                               6            d. A debt collector violates §1695e(10) when it uses a false representation
                               7               and/or deceptive means to collect or attempt to collect a debt from a
                               8               consumer.
                               9                   i. Chase violated §1692e(10) when it falsely represented that
                              10                      Plaintiff owed the debt in order to attempt to collect the fraudulent
                              11                      debt from Plaintiff.
THE CARDOZA LAW CORPORATION




                              12            e. A debt collector violates § 1692f of the FDCPA when it uses unfair or
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                              13               unconscionable means to collect or attempt to collect any debt.
                              14            f. A debt collector violates §1692f(1) of the FDCPA when it collects or
                              15               attempts to collect any amount unless authorized by agreement or
                              16               permitted by law.
                              17                   i. Chase violated § 1692f(1) when it, among other qualifying actions
                              18                      and omissions, willfully and without justification, attempted to
                              19                      collect debt – incurred solely because of the theft of Plaintiff’s
                              20                      identity ( her identity was used to fraudulently open and use credit
                              21                      cards) – from Plaintiff that Plaintiff does not owe.
                              22                                          COUNT X
                              23                       VIOLATION OF CAL. PENAL CODE §530.8
                              24                                     [AGAINST CHASE]
                              25 131. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                              26       as though fully stated herein.
                              27 132. An entity violates Penal Code §530.8 when it fails to provide a person who has
                              28       had an account applied for or opened in their name by an unauthorized person
                                   COMPLAINT                                                                 Page 25 of 29
                                Case 8:21-cv-01018-DOC-JDE Document 1 Filed 06/08/21 Page 28 of 31 Page ID #:28




                               1        with (1) information relating to the unauthorized application or account, including
                               2        a copy of the unauthorized person’s application information and a record of
                               3        transactions or charges associated with the application or account, (2) categories
                               4        of identifying information that the unauthorized person used to complete the
                               5        application or open the account, and (3) copies of all paper records, records of
                               6        phone      applications/authorizations,      and/or    records     of       electronic
                               7        applications/authorizations, without charge, within ten (10) business days of the
                               8        entity’s receipt of the person’s request and submission of a police report regarding
                               9        the ID theft.
                              10 133. Defendant Chase violated Penal Code §530.8 when it failed to provide the
                              11        required information within ten (10) business days of submission of the request
THE CARDOZA LAW CORPORATION




                              12        and police report. Plaintiff sent the request and IDTN to Defendant Chase on or
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                              13        around September 1, 2020. To date, Defendant Chase has only provided some,
                              14        but not all, of the information requested.
                              15                                   PRAYER FOR RELIEF
                              16 WHEREFORE, Plaintiff prays that judgment be entered against each Defendant
                              17 for:
                              18             a) An award of actual damages, in an amount to be determined at trial,
                              19                pursuant to Cal. Civ. Code § 1798.93(c)(5), 15 U.S.C. §§ 1681n, and
                              20                1681o, and Cal. Civ. Code §1731(a)(1) against Chase and for Plaintiff;
                              21             b) An award of any equitable relief the Court deems appropriate, pursuant
                              22                to Cal. Civ. Code § 1798.93(c)(5) against Chase and for Plaintiff;
                              23             c) A civil penalty of up to $30,000.00, pursuant to Cal. Civ. Code §
                              24                1798.98(c)(5) from Defendant Chase and for Plaintiff;
                              25             d) An award of costs of litigation and reasonable attorney’s fees, pursuant
                              26                to Cal. Civ. Code § 1798.93(c)(5) against Chase and for Plaintiff;
                              27 ///
                              28 ///
                                   COMPLAINT                                                                    Page 26 of 29
                               Case 8:21-cv-01018-DOC-JDE Document 1 Filed 06/08/21 Page 29 of 31 Page ID #:29




                               1          e) A declaration that Plaintiff is not obligated to Chase on any claims
                               2               pursuant to Cal. Civ. Code § 1798.93(c)(1) against Chase and for
                               3               Plaintiff;
                               4          f) A declaration that any security interest, or other interest, Chase
                               5               purportedly obtained in Plaintiff’s property, in connection with any
                               6               claim, is void and unenforceable pursuant to Cal. Civ. Code §
                               7               1798.93(c)(2) against Chase and for Plaintiff;
                               8          g) The dismissal of any cause of action filed based on a claim, which arose
                               9               as a result of identity theft pursuant to Cal. Civ. Code § 1798.93(c)(4)
                              10               against Chase and for Plaintiff;
                              11          h) An injunction restraining Chase from collecting or attempting to collect
THE CARDOZA LAW CORPORATION




                              12               on the claim, from enforcing or attempting to enforce any security interest
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                              13               or other interest in Plaintiff’s property in connection with the claim, or
                              14               from enforcing or executing on any judgment against Plaintiff on the
                              15               claim pursuant to Cal. Civ. Code § 1798.93(c)(3) against Chase and for
                              16               Plaintiff;
                              17          i) Award of injunctive relief pursuant to Cal. Civ. Code § 1798.93(c)(3) that
                              18               Chase be ordered to immediately return to Plaintiff’s money against
                              19               Chase and for Plaintiff;
                              20          j) An award of statutory damages pursuant to 15 U.S.C. §§ 1681n, and
                              21               1681o, and Cal. Civ. Code § 1731(a)(1) against Chase and Innovis and
                              22               for Plaintiff;
                              23          k) Costs and reasonable attorney's fees pursuant to 15 U.S.C. §§ 1681n, and
                              24               1681o against Chase and Innovis and for Plaintiff;
                              25          l) Costs and reasonable attorney's fees pursuant to Cal. Civ. Code
                              26               §1731(a)(1) against Chase and for Plaintiff;
                              27          m) An order directing that each Defendant immediately delete all of the
                              28               inaccurate information from Plaintiff’s credit reports and files and cease
                                   COMPLAINT                                                               Page 27 of 29
                                Case 8:21-cv-01018-DOC-JDE Document 1 Filed 06/08/21 Page 30 of 31 Page ID #:30




                               1               reporting the inaccurate information to any and all persons and entities to
                               2               whom they report consumer credit information against Chase and Innovis
                               3               and for Plaintiff;
                               4          n) An order directing that each Defendants send to all persons and entities
                               5               to whom they have reported Plaintiff’s inaccurate information within the
                               6               last three years Plaintiff’s updated and corrected credit report information
                               7               against Chase and Innovis and for Plaintiff;
                               8          o) An award of punitive damages against Chase and Innovis and for
                               9               Plaintiff;
                              10          p) Actual damages pursuant to 15 U.S.C. §1681n, 15 U.S.C. §1681o, Cal.
                              11               Civ. Code § 1785.31, Cal. Civ. Code § 1788.30, and Cal. Civ. Code §
THE CARDOZA LAW CORPORATION




                              12               1798.93(c)(5) against Chase and Innovis and for Plaintiff;
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                              13          q) Actual damages pursuant to 15, U.S.C. §1681n and 15 U.S.C. §1681o
                              14               against Chase and Innovis and for Plaintiff,
                              15          r) Statutory damages pursuant to 15 U.S.C. §1681n, 15 U.S.C. §1681o, Cal.
                              16               Civ. Code § 1788.30, and Cal. Civ. Code § 1785.31, against Chase and
                              17               Innovis and for Plaintiff;
                              18          s) Statutory damages pursuant to 15, U.S.C. §1681n and 15 U.S.C. §1681o,
                              19               against Chase and Innovis and for Plaintiff;
                              20          t) Punitive damages pursuant to 15 U.S.C. §1681n, 15 U.S.C. §1681o, and
                              21               Cal. Civ. Code § 1785.31, against Chase and Innovis and for Plaintiff;
                              22          u) Punitive damages pursuant to 15, U.S.C. §1681n and 15 U.S.C. §1681o,
                              23               against Chase and Innovis and for Plaintiff; and
                              24          v) Award of actual damages pursuant to Cal. Civ. Code § 1788.30
                              25               (RFDCPA), against Chase and for Plaintiff, and,
                              26          w) Award of statutory damages in the amount of $1000.00 pursuant to Cal.
                              27               Civ. Code § 1788.30 (RFDCPA) against Chase and for Plaintiff, and
                              28 ///
                                   COMPLAINT                                                                Page 28 of 29
                                Case 8:21-cv-01018-DOC-JDE Document 1 Filed 06/08/21 Page 31 of 31 Page ID #:31




                               1            x) Award of costs of litigation and reasonable attorney’s fees pursuant to
                               2               Cal. Civ. Code § 1788.30 (RFDCPA), against Chase and for Plaintiff,
                               3               and,
                               4            y) Award of actual damages pursuant to Cal. Penal Code §530.8(d)(2),
                               5               against Defendant Chase and for Plaintiff;
                               6            z) Statutory penalty of $100 per day of noncompliance with Cal. Penal Code
                               7               §530.8, pursuant to Cal. Penal Code §530.8(d)(2), against Defendant
                               8               Chase and for Plaintiff;
                               9            aa) Award of reasonable attorneys’ fees pursuant to Cal. Penal Code
                              10               §530.8(d)(2), against Defendant Chase and for Plaintiff; and
                              11            bb)       Award of Treble Damages against all Defendants and for Plaintiff
THE CARDOZA LAW CORPORATION




                              12               pursuant to Cal. Civ. Code § 3345; and
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                              13            cc) Award to Plaintiff of such other and further relief as may be just and
                              14               proper.
                              15                             TRIAL BY JURY IS DEMANDED
                              16 134. Pursuant to the seventh amendment to the Constitution of the United States of
                              17       America, Plaintiff is entitled to, and demands, a trial by jury.
                              18
                              19                                          THE CARDOZA LAW CORPORATION
                                   DATED: June 8, 2021                    BY: /S/ LAUREN B. VEGGIAN
                              20
                                                                          MICHAEL F. CARDOZA, ESQ.
                              21                                          LAUREN B. VEGGIAN, ESQ.
                              22                                          ATTORNEYS FOR PLAINTIFF,
                                                                          TINA BARNES
                              23
                              24
                              25
                              26
                              27
                              28
                                   COMPLAINT                                                              Page 29 of 29
